              Case 3:13-cv-00728-G Document 27-1 Filed 08/29/13                      Page 1 of 3 PageID 552


                                             LAWRENCE           B.        MITCHELL
                                                     ATTORNEY        AT   LAW


1341    MOCKINGBIRD LANE
       W.                                                                                 FORMERLY       ASSOCIATE      JUSTICE
        SUITE 704E                                                                              COURT         OF APPEALS
   DALLAS TEXAS    75247
                                                                                      FIFTH   DISTRICT    OF    TEXAS   AT   DALLAS

            214 630-3070

                                               March     27           1991




                                                                                                 BAR 2
   Tommy Lowe Clerk
   Court of Criminal Appeals
   P.O. Box 12308                                                                                                            Clerk
                                                                                                         85
                                                                                                                Lowe
   Capitol Station                                                                            -hom
   Austin Texas 78711

                                               RE      Mark Robertson vs.             State
                                                       Cause No. 71224

   Dear        Mr.     Lowe

   I        have
             recently   received   a  postcard   dated   March  25 1991
   concerning the    above described   appeal.    I  was advised   in that
   postcard  that    the   transcript  has   been   filed   and  that  the
   Statement  of Facts is due to be filed on April 12 1991.

   Please          be       advised
                          that on behalf   of Mr.  Robertson   I have filed
   with the clerk       the trial court a Motion for New Trial.
                                 of                                    A copy
   of that document      is  enclosed  herein   for your records.       By my
   calculation    the time period     for filing the Statement      of  Facts
   should be adjusted because of this event.        It is my understanding
   that if a timely Motion       for New Trial is filed the Transcript
   and Statement    of Facts   shall be filed within 120 days after the
   day   sentence   was    imposed.    See   TEX.  R.   APP.  PROC.    54b.
   Therefore by my calculation-- the-Statement of Facts is due to be
   filed   on   or   before    June   11    1991.     I  would   appreciate
   notification from the Court--as-_to__the correct date for filing of
   the Statement   of Facts.


   Thank         you    for your        attention.    to this matter.

   Sincerely



   LAWRENCE            B.    MITCHELL
   Attorney at Law

   LBM/sah                                                                                                -




   Enclosure
      Case 3:13-cv-00728-G Document 27-1 Filed 08/29/13                             Page 2 of 3 PageID 553
                                          NO.    F-89-85961-MNT

STATE     OF TEXAS                                                          CRIMINAL DISTRICT

VS.                                                                     COURT       NO.5

MARK     A.    ROBERTSON                                                DALLAS       COUNTY        TEXAS

                                        MOTION FOR NEW                TRIAL

TO THE        HONORABLE         JUDGE    OF SAID       COURT

        COMES        NOW        the    defendant           by    and    through        his        attorney     of

record and           respectfully             submits           this    his    Motion       for New          Trial

pursuant to the                 provisions      of    TEX.       R.    APP.    PROC.       30..    In   support

of    said Motion defendant                would       show       the   Court       as follows

                                                       I.


        The        verdict       is    contrary       to    the       law    and    the    evidence.          See

TEX.    R.    APP.    PROC.       30b9.

        WHEREFORE               for      the      foregoing                 reason         the      defendant

respectfully prays this Honorable                               Court       grant   his Motion          for New

Trial.

                                                      Respectfully submitted


               N
               c
                                  r_
                                  J                   LA   ENCE B. MITCHELL
                                                                                Aj
                                                      State Bar No. 14217500
                                                      1341 W. Mockingbird Lane                      704E
                            -

                                                      Dallas Texas 75247
               _                                      214/630-3070


                                       CERTIFICATE          OF SERVICE

       This is         to       certify        that    a        true    and    correct           copy   of    the

foregoing           Motion       for    New     Trial           has    been     delivered          to   Janice

Warder        Assistant District                Attorney              Frank Crowley Courts Bldg.
      Case 3:13-cv-00728-G Document 27-1 Filed 08/29/13       Page 3 of 3 PageID 554
133    N.   Industrial      Blvd.    Dallas Texas     75207     on   this   the

day    of   March   1991.




                                    EgKi-ENCE B.   MITCHELL
